 USCA Case #23-1221              Document #2074126             Filed: 09/10/2024      Page 1 of 1
                       United States Court of Appeals
                                  FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                           ____________
No. 23-1174                                                     September Term, 2024
                                                                          FERC-CP16-454-000
                                                                          FERC-CP16-454-003
                                                                          FERC-CP16-455-000
                                                                          FERC-CP16-455-002
                                                                          FERC-CP20-481-000
                                                            Filed On: September 10, 2024
City of Port Isabel, et al.,

                  Petitioners

         v.

Federal Energy Regulatory Commission,

                  Respondent

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Rio Bravo Pipeline Company, LLC and Rio
Grande LNG, LLC,
                  Intervenors
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Consolidated with 23-1221


         BEFORE:           Srinivasan, Chief Judge; and Childs and Garcia, Circuit Judges

                                              ORDER

       Upon consideration of the motions for a 30-day extension of time within
which to file a petition for rehearing or petition for rehearing en banc filed by intervenors
Rio Grande LNG, LLC and Rio Bravo Pipeline Company, LLC, the joint opposition
thereto, and the reply, it is

      ORDERED that the motions be granted. Any petitions for rehearing are now due
by October 21, 2024.

                                             Per Curiam

                                                              FOR THE COURT:
                                                              Mark J. Langer, Clerk

                                                      BY:     /s/
                                                              Daniel J. Reidy
                                                              Deputy Clerk
